WINC, INC. CLAIMS PROCESSING CENTER
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Numerical Claims Register for Winc, Inc. (ALL DEBTORS)



MARGEAUX WALTER STUDIO                             Claim Number: 1
6871 CALIFORNIA AVE                                Claim Date: 12/06/2022
JOSHUA TREE, CA 92252                              Debtor: WINC, INC.



PRIORITY                   Claimed:                      $9,640.46
BETHEL CLEANING SERVICES LLC                       Claim Number: 2
3038 FOULK RD                                      Claim Date: 12/14/2022
GARNET VALLEY, PA 19060                            Debtor: WINC, INC.



PRIORITY                   Claimed:                      $7,261.00
ULINE                                              Claim Number: 3
12575 ULINE DR                                     Claim Date: 12/06/2022
PLEASANT PRAIRIE, WI 53158                         Debtor: WINC, INC.



ADMINISTRATIVE             Claimed:                        $151.54
PRIORITY                   Claimed:                      $7,373.68
INDIANA DEPARTMENT OF REVENUE                      Claim Number: 4
100 N SENATE AVE, N-240 MS 108                     Claim Date: 12/29/2022
INDIANAPOLIS, IN 46204                             Debtor: WINC, INC.



PRIORITY                   Claimed:                       $178.22
SECURED                    Claimed:                        $34.77
UNSECURED                  Claimed:                        $35.00
FRALEY, MAREN                                      Claim Number: 20001
2300 MITCHELL RD NE                                Claim Date: 12/01/2022
MARIETTA, GA 30062                                 Debtor: WINC, INC.



UNSECURED                  Claimed:                      $1,050.00




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STUDIO, MARGEAUX WALTER                            Claim Number: 20002
6871 CALIFORNIA AVE                                Claim Date: 12/01/2022
JOSHUA TREE, CA 92252                              Debtor: WINC, INC.



PRIORITY                   Claimed:                       $9,640.46
BACON, OLIVIA                                      Claim Number: 20003
2545 ROYAL YORK AVE                                Claim Date: 12/02/2022
CHARLOTTE, NC 28210                                Debtor: WINC, INC.



UNSECURED                  Claimed:                       $7,450.00
RAMBLING REDHEAD, THE                              Claim Number: 20004
780 ELK RDG                                        Claim Date: 12/02/2022
FAIRVIEW, TX 75069                                 Debtor: WINC, INC.



UNSECURED                  Claimed:                      $45,000.00
PROFESSIONAL SEARCH GROUP OC LLC                   Claim Number: 20005
1440 N HARBOR BLVD, STE 804                        Claim Date: 12/02/2022
FULLERTON, CA 92835                                Debtor: WINC, INC.



UNSECURED                  Claimed:                      $13,000.00 UNLIQ
PEBLO LLC                                          Claim Number: 20006
169 MADISON AVE, #2131                             Claim Date: 12/06/2022
NEW YORK, NY 10016                                 Debtor: WINC, INC.



UNSECURED                  Claimed:                      $15,000.00




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BLUE-GRACE LOGISTICS LLC                           Claim Number: 20007
2846 S FALKENBURG RD                               Claim Date: 12/07/2022
RIVERVIEW, FL 33578                                Debtor: BWSC, LLC



UNSECURED                  Claimed:                       $11,165.00
MASSACHUSETTS DEPARTMENT OF REVENUE                Claim Number: 20008
ATTN BANKRUPTCY UNIT                               Claim Date: 12/08/2022
PO BOX 7090                                        Debtor: WINC, INC.
BOSTON, MA 02204-7090


PRIORITY                   Claimed:                        $4,243.19 UNLIQ
UNSECURED                  Claimed:                       $30,090.92 UNLIQ
MASSACHUSETTS DEPARTMENT OF REVENUE                Claim Number: 20009
ATTN BANKRUPTCY UNIT                               Claim Date: 12/08/2022
PO BOX 7090                                        Debtor: BWSC, LLC
BOSTON, MA 02204-7090


PRIORITY                   Claimed:                        $9,070.30 UNLIQ
UNSECURED                  Claimed:                        $2,900.00 UNLIQ
NOONE, SETH                                        Claim Number: 20010
5601 DURBIN RD                                     Claim Date: 12/08/2022
BETHESDA, MD 20814                                 Debtor: WINC, INC.



UNSECURED                  Claimed:                        $1,531.27 UNLIQ
THELEN, MATTHEW                                    Claim Number: 20011
8011 BLERIOT AVE                                   Claim Date: 12/08/2022
LOS ANGELES, CA 90045                              Debtor: WINC, INC.
                                                   Comments: POSSIBLY AMENDED BY 20033


UNSECURED                  Claimed:                      $125,000.00




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WINC, INC. CLAIMS PROCESSING CENTER
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MOMONO, HANAKO                                     Claim Number: 20012
3506 S 244TH ST                                    Claim Date: 12/09/2022
KENT, WA 98032                                     Debtor: WINC, INC.



UNSECURED                  Claimed:                       $255.63
PEASE, ANDREA                                      Claim Number: 20013
49 MEGHAN DR                                       Claim Date: 12/09/2022
SANDOWN, NH 03873                                  Debtor: WINC, INC.



UNSECURED                  Claimed:                       $234.66
KINNALLY, MICHELLE                                 Claim Number: 20014
1302 LINCOLNWOODS DR                               Claim Date: 12/09/2022
CATONSVILLE, MD 21228                              Debtor: WINC, INC.



UNSECURED                  Claimed:                       $418.00
BEHAR, ALEXANDRA H                                 Claim Number: 20015
79 SW 12TH ST, #1101                               Claim Date: 12/09/2022
MIAMI, FL 33130                                    Debtor: WINC, INC.



UNSECURED                  Claimed:                       $193.95
ROSALES, ALLISON                                   Claim Number: 20016
201 WOOD VALLEY CT                                 Claim Date: 12/09/2022
ABINGDON, MD 21009                                 Debtor: WINC, INC.



UNSECURED                  Claimed:                       $291.93 UNLIQ




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CAMERON, SUSAN                                     Claim Number: 20017
24011 SE 22ND ST                                   Claim Date: 12/09/2022
SAMMAMISH, WA 98075                                Debtor: WINC, INC.



UNSECURED                  Claimed:                       $441.00
TUMANENG, AUDREY                                   Claim Number: 20018
10215 HILLTOP ASCENT DR                            Claim Date: 12/09/2022
ROCKVILLE, MD 20850                                Debtor: WINC, INC.



UNSECURED                  Claimed:                       $119.81
DUGGAN, LINDSEY                                    Claim Number: 20019
1025 MONROE TPKE                                   Claim Date: 12/09/2022
MONROE, CT 06468                                   Debtor: WINC, INC.



UNSECURED                  Claimed:                      $4,000.00
MARTINEZ, GRISSELDA                                Claim Number: 20020
207 YORKSHIRE                                      Claim Date: 12/09/2022
WHEELING, IL 60090                                 Debtor: WINC, INC.



UNSECURED                  Claimed:                         $0.00 UNDET
DELUCA, ELENA                                      Claim Number: 20021
2619 S BAHAMA DR                                   Claim Date: 12/09/2022
GILBERT, AZ 85295                                  Debtor: WINC, INC.



UNSECURED                  Claimed:                       $457.59




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O'BRIEN, KATIE                                     Claim Number: 20022
6346 CHRISTOPHER CREEK RD W                        Claim Date: 12/12/2022
JACKSONVILLE, FL 32217                             Debtor: WINC, INC.



UNSECURED                  Claimed:                          $59.95
MCFARLANE, GEOFFREY                                Claim Number: 20023
1853 LIONS RIDGE LP E                              Claim Date: 12/12/2022
VAIL, CO 81657                                     Debtor: WINC, INC.



PRIORITY                   Claimed:                       $15,150.00
UNSECURED                  Claimed:                      $134,850.00
MILLER, TREVOR                                     Claim Number: 20024
182 BURLWOOD CIR                                   Claim Date: 12/13/2022
MOUNT WASHINGTON, KY 40047                         Debtor: WINC, INC.



UNSECURED                  Claimed:                        $1,198.00 UNLIQ
ROSENSTEIN HENRY LLC                               Claim Number: 20025
371 SPRING PARK RD                                 Claim Date: 12/13/2022
CAMARILLO, CA 93012                                Debtor: WINC, INC.
                                                   Comments: POSSIBLY AMENDED BY 20057


UNSECURED                  Claimed:                       $23,380.46
NGUYEN, HUU-BANG Q                                 Claim Number: 20026
6601 RIO DE ONAR WAY                               Claim Date: 12/13/2022
ELK GROVE, CA 95757                                Debtor: WINC, INC.



UNSECURED                  Claimed:                            $0.00 UNDET




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WINC, INC. CLAIMS PROCESSING CENTER
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KAISER CONSULTING LLC                              Claim Number: 20027
3910 GULF BLVD, UNIT 300                           Claim Date: 12/14/2022
SAINT PETE BEACH, FL 33706                         Debtor: WINC, INC.



UNSECURED                  Claimed:                      $59,250.00
COHEN, HAYDEN                                      Claim Number: 20028
12 BLOOMINGTON ST, #2                              Claim Date: 12/15/2022
DORCHESTER, MA 02122                               Debtor: WINC, INC.



UNSECURED                  Claimed:                       $4,000.00
BERO, STEVEN                                       Claim Number: 20029
186 COUNTRYSIDE LN                                 Claim Date: 12/15/2022
SAN LUIS OBISPO, CA 93401                          Debtor: WINC, INC.



PRIORITY                   Claimed:                      $12,015.00
MUKAI, KRISTEN                                     Claim Number: 20030
5009 26TH AVE SW                                   Claim Date: 12/15/2022
SEATTLE, WA 98106                                  Debtor: WINC, INC.



UNSECURED                  Claimed:                       $1,000.83
TRICORBRAUN WINEPAK INC                            Claim Number: 20031
6 CITYPLACE DR, STE 1000                           Claim Date: 12/16/2022
SAINT LOUIS, MO 63141                              Debtor: BWSC, LLC



UNSECURED                  Claimed:                      $25,560.40




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IOWA DEPARTMENT OF REVENUE                         Claim Number: 20032
C/O OFFICE OF THE ATTORNEY GENERAL OF IA           Claim Date: 12/16/2022
ATTN BANKRUPTCY UNIT                               Debtor: BWSC, LLC
1305 E WALNUT
DES MOINES, IA 50319

PRIORITY                   Claimed:                        $9,236.10
UNSECURED                  Claimed:                          $115.52
THELEN, MATTHEW                                    Claim Number: 20033
8011 BLERIOT AVE                                   Claim Date: 12/16/2022
LOS ANGELES, CA 90045                              Debtor: WINC, INC.
                                                   Comments:
                                                   AMENDS CLAIM #20011

UNSECURED                  Claimed:                      $125,000.00
WELLS FARGO VENDOR FINANCIAL SERVICES              Claim Number: 20034
1010 THOMAS EDISON BLVD SW                         Claim Date: 12/19/2022
CEDAR RAPIDS, IA 52404                             Debtor: WINC, INC.



UNSECURED                  Claimed:                       $14,502.58
MISSOURI DEPARTMENT OF REVENUE                     Claim Number: 20035
PO BOX 475                                         Claim Date: 12/19/2022
JEFFERSON CITY, MO 65105                           Debtor: WINC, INC.



PRIORITY                   Claimed:                          $74.67
MILLER, REBEKAH                                    Claim Number: 20036
417 E 5 L RANCH RD                                 Claim Date: 12/19/2022
KINGMAN, AZ 86409                                  Debtor: WINC, INC.



UNSECURED                  Claimed:                         $479.60




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CHOPRA, JATIN                                      Claim Number: 20037
1000 MINOR AVE, #510                               Claim Date: 12/19/2022
SEATTLE, WA 98104                                  Debtor: WINC, INC.
                                                   Comments: POSSIBLY AMENDED BY 20038


PRIORITY                   Claimed:                      $2,506.00 UNLIQ
CHOPRA, JATIN                                      Claim Number: 20038
1000 MINOR AVE, #510                               Claim Date: 12/19/2022
SEATTLE, WA 98104                                  Debtor: WINC, INC.
                                                   Comments:
                                                   AMENDS CLAIM #20037

PRIORITY                   Claimed:                      $2,506.00 UNLIQ
SCHILD, NORA                                       Claim Number: 20039
7031 KOLL CENTER PKWY, STE 250                     Claim Date: 12/20/2022
PLEASANTON, CA 94566                               Debtor: WINC, INC.



UNSECURED                  Claimed:                      $1,050.00
APARTMENT 3B PRODUCTIONS                           Claim Number: 20040
POITIER BUILDING                                   Claim Date: 12/20/2022
10202 W WASHINGTON BLVD, STE 3111                  Debtor: WINC, INC.
CULVER CITY, CA 90232


UNSECURED                  Claimed:                      $1,500.00
SANABRIA, MITCHELL                                 Claim Number: 20041
2514 E MEADOWBROOK AVE                             Claim Date: 12/20/2022
PHOENIX, AZ 85016                                  Debtor: WINC, INC.



UNSECURED                  Claimed:                      $1,501.25




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KLINE, ASHLEY                                      Claim Number: 20042
1145 COLLINS BLVD                                  Claim Date: 12/21/2022
WYLIE, TX 75098                                    Debtor: WINC, INC.



UNSECURED                  Claimed:                          $0.00 UNDET
ATTENTIVE MOBILE INC                               Claim Number: 20043
221 RIVER ST, 9TH FL                               Claim Date: 12/21/2022
HOBOKEN, NJ 07030                                  Debtor: WINC, INC.



UNSECURED                  Claimed:                       $5,988.45
OHIO DEPARTMENT OF TAXATION                        Claim Number: 20044
PO BOX 530                                         Claim Date: 12/21/2022
COLUMBUS, OH 43216                                 Debtor: BWSC, LLC



PRIORITY                   Claimed:                      $13,457.74
UNSECURED                  Claimed:                       $6,184.62
DEBIASE, LEAH KOCH                                 Claim Number: 20045
31 MCGAW AVE                                       Claim Date: 12/22/2022
LAKE GROVE, NY 11755                               Debtor: WINC, INC.



UNSECURED                  Claimed:                          $0.00 UNDET
SOLINI, JOHN A                                     Claim Number: 20046
12849 RICHEZZA DR                                  Claim Date: 12/23/2022
VENICE, FL 34293                                   Debtor: WINC, INC.



UNSECURED                  Claimed:                        $999.42




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MCCORMICK, ALEX                                    Claim Number: 20047
257 ELMWOOD ST                                     Claim Date: 12/23/2022
NORTH ATTLEBORO, MA 02760                          Debtor: WINC, INC.



PRIORITY                   Claimed:                       $110.00
MORRIS, NEISSA                                     Claim Number: 20048
4551 BAKERSTOWN CULMERVILLE RD                     Claim Date: 12/23/2022
GIBSONIA, PA 15044                                 Debtor: WINC, INC.



PRIORITY                   Claimed:                      $1,300.00
AINSWORTH, TODD                                    Claim Number: 20049
2812 S KILT ROCK CT                                Claim Date: 12/23/2022
WEST VALLEY, UT 84128                              Debtor: WINC, INC.



UNSECURED                  Claimed:                      $1,000.00
HIRSCH, RACHEL                                     Claim Number: 20050
5627 SUNLIGHT PL                                   Claim Date: 12/23/2022
LOS ANGELES, CA 90016                              Debtor: WINC, INC.



UNSECURED                  Claimed:                      $1,001.00
PRATER-BURKHART, TARAH                             Claim Number: 20051
8532 SW 65TH COURT RD                              Claim Date: 12/23/2022
OCALA, FL 34476                                    Debtor: WINC, INC.



UNSECURED                  Claimed:                      $1,001.00




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MATEYAK, LORI                                      Claim Number: 20052
421 LAUREL AVE                                     Claim Date: 12/23/2022
LITITZ, PA 17543                                   Debtor: WINC, INC.



UNSECURED                  Claimed:                          $0.00 UNDET
OAK PAPER PRODUCTS COMPANY INC                     Claim Number: 20053
3686 E OLYMPIC BLVD                                Claim Date: 12/27/2022
LOS ANGELES, CA 90023                              Debtor: WINC, INC.



UNSECURED                  Claimed:                       $5,568.20
GOMEZ, DANIEL                                      Claim Number: 20054
4363 SW 10TH PL, APT 102                           Claim Date: 12/27/2022
DEERFIELD BEACH, FL 33442                          Debtor: WINC, INC.



UNSECURED                  Claimed:                        $419.65
HORTON, STACY                                      Claim Number: 20055
1360 INDUSTRIAL AVE, STE C                         Claim Date: 12/27/2022
PETALUMA, CA 94952                                 Debtor: WINC, INC.



PRIORITY                   Claimed:                           $0.00 UNDET
ALB WINE & SPIRIT                                  Claim Number: 20056
LIEU DIT LAGARDE                                   Claim Date: 12/28/2022
CS 80002                                           Debtor: BWSC, LLC
SAINT LAURENT DU BOIS
33540,
FRANCE
UNSECURED                  Claimed:                      $97,126.58




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ROSENSTEIN HENRY LLC                               Claim Number: 20057
371 SPRING PARK RD                                 Claim Date: 12/28/2022
CAMARILLO, CA 93012                                Debtor: WINC, INC.
                                                   Comments:
                                                   AMENDS CLAIM #20025

UNSECURED                  Claimed:                      $258,971.87
ILLINOIS DEPT OF EMPLOYMENT SECURITY               Claim Number: 20058
33 S STATE ST, 10TH FL                             Claim Date: 12/29/2022
CHICAGO, IL 60603                                  Debtor: WINC, INC.



PRIORITY                   Claimed:                         $137.25
LANCASTER, CAROLINE                                Claim Number: 20059
5550 WILSHIRE BLVD, #419                           Claim Date: 12/29/2022
LOS ANGELES, CA 90036                              Debtor: WINC, INC.



PRIORITY                   Claimed:                        $5,850.00
MEJIA, CARMEN                                      Claim Number: 20060
152 HARVARD AVE                                    Claim Date: 12/30/2022
MILL VALLEY, CA 94941                              Debtor: WINC, INC.



UNSECURED                  Claimed:                          $59.95
BAUGH, KIMBERLY                                    Claim Number: 20061
466 OVERLOOK DR                                    Claim Date: 12/31/2022
EDWARDSVILLE, IL 62025                             Debtor: WINC, INC.



UNSECURED                  Claimed:                         $316.09




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MAJOR ROCKET LLC                                   Claim Number: 20062
19495 BISCAYNE BLVD, STE 300                       Claim Date: 01/02/2023
AVENTURA, FL 33180                                 Debtor: WINC, INC.



UNSECURED                  Claimed:                      $127,585.00
SZYBOWICZ, JAKE AND KRISTIN                        Claim Number: 20063
2608 W WINONA ST                                   Claim Date: 01/02/2023
CHICAGO, IL 60625                                  Debtor: WINC, INC.



UNSECURED                  Claimed:                        $5,500.32
TENNESSEE DEPARTMENT OF REVENUE                    Claim Number: 20064
C/O ATTORNEY GENERAL                               Claim Date: 01/03/2023
PO BOX 20207                                       Debtor: BWSC, LLC
NASHVILLE, TN 37202-0207


PRIORITY                   Claimed:                          $34.05
UNSECURED                  Claimed:                         $786.34
TENNESSEE DEPARTMENT OF REVENUE                    Claim Number: 20065
C/O ATTORNEY GENERAL                               Claim Date: 01/03/2023
PO BOX 20207                                       Debtor: WINC, INC.
NASHVILLE, TN 37202


PRIORITY                   Claimed:                         $536.18
UNSECURED                  Claimed:                         $127.75
MITCHELL, STUART                                   Claim Number: 20066
16 STODDARD SQUARE                                 Claim Date: 01/03/2023
ELDERSLIE                                          Debtor: WINC, INC.
JOHNSTONE, RS PA5 9AS,
UNITED KINGDOM

UNSECURED                  Claimed:                        $1,312.50




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SCHLESSEL, SAMANTHA                                Claim Number: 20067
625 ERICSON PL                                     Claim Date: 01/03/2023
SAINT LOUIS, MO 63122                              Debtor: WINC, INC.



UNSECURED                  Claimed:                      $1,050.00 UNLIQ
BRISSON, ANTHONY                                   Claim Number: 20068
1608 PRESTON ROAD                                  Claim Date: 01/04/2023
ALEXANDRIA, VA 22302                               Debtor: BWSC, LLC



UNSECURED                  Claimed:                      $1,501.25
BRISSON, ANTHONY                                   Claim Number: 20069
1608 PRESTON ROAD                                  Claim Date: 01/04/2023
ALEXANDRIA, VA 22302                               Debtor: BWSC, LLC



UNSECURED                  Claimed:                      $1,501.25
BELCHER, MARK                                      Claim Number: 20070
301 MODESTO ST                                     Claim Date: 01/04/2023
HENDERSON, NV 89014                                Debtor: WINC, INC.



ADMINISTRATIVE             Claimed:                      $1,000.00




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                Total Number of Filed Claims:             74                                          Claimed Amount      Allowed Amount

                                                                   Administrative:                           $1,151.54               $0.00
                                                                   Priority:                               $110,320.30               $0.00
                                                                   Secured:                                     $34.77               $0.00
                                                                   Unsecured:                             $1,170,084.59              $0.00
                                                                   Total:                                 $1,281,591.20              $0.00
